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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE


ST. CLAIR INTELLECTUAL PROPERTY
CONSULTANTS, INC.,

             Plaintiff,

      v.                                   Civil Action No. 04-1436-JJF-LPS


SAMSUNG ELECTRONICS CO., LTD.,
et al.,

             Defendants.


ST. CLAIR INTELLECTUAL PROPERTY
CONSULTANTS, INC.,

             Plaintiff,

      v.                                   Civil Action No. 06-403-JJF-LPS


SIEMENS AG, et aI.,

             Defendants.


ST. CLAIR INTELLECTUAL PROPERTY
CONSULTANTS, INC.,

             Plaintiff,

      v.                                   Civil Action No. 06-404-JJF-LPS


LG ELECTRONICS, INC., et ai.,

             Defendants.
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ST. CLAIR INTELLECTUAL PROPERTY
CONSULTANTS, INC.,

               Plaintiff,

       v.                                            Civil Action No. 08-371-JJF-LPS


RESEARCH IN MOTION LTD., et al.,

               Defendants.


ST. CLAIR INTELLECTUAL PROPERTY
CONSULTANTS, INC.,

               Plaintiff,

       v.                                            Civil Action No. 08-373-JJF-LPS


FUJIFILM HOLDINGS CORPORATIONS,
et al.,

               Defendants.




                    ORDER ON DEFENDANTS' MOTION TO STAY
                     AND REPORT AND RECOMMENDATION ON
                   MOTION TO CERTIFY INTERLOCUTORY APPEAL

       The defendants in these patent infringement actions (collectively, "Defendants") filed a

Motion to Stay Expert Discovery and Trial Until Resolution of the Cross-Appeals in Sf. Clair v.

Fujifilm I and Any Interlocutory Appeal to the Federal Circuit ("Motion to Stay"). (D.I. 647Y

Concurrently, they filed a Motion to Certify the Claim Construction Order for Interlocutory


        IUnless otherwise noted, all references to Docket Index ("D.I.") numbers are to entries in
the docket for C.A. No. 04-1436-JJF-LPS. Both pending Motions have been filed in each of the
actions listed in the case caption.

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Appeal Pursuant to 28 U.S.C. § 1292(b) ("Motion to Certify"). (D.l. 645) Plaintiff, St. Clair

Intellectual Property Consultants, Inc. ("St. Clair"), opposes both motions. (D.1. 742; D.1. 744)

For the reasons set forth below, the Court denies the Motion to Stay and recommends that the

Court grant the Motion to Certify.



                                          BACKGROUND

       St. Clair filed its first action alleging infringement of the patents-in-suit (hereinafter

referred to as "the Roberts patents") more than eight years ago. This Court first construed claim

terms in the Roberts patents in September 2002, in an action from which no appeal was taken (as

the case settled). See   c.A. No. 01-557-JJF D.1. 112.
       In February 2003, St. Clair filed a second infringement action against the various

defendants, including current Defendant Fujifilm. See C.A. No. 03-241-JJF ("Fujifilm f'). In

Fujifilm 1, this Court issued its order construing the disputed claim terms in the Roberts patents

on August 31,2004. See Fujifilm I D.1. 749. Subsequently, in October 2004, two jury trials in

FuRfilm 1 ended with verdicts for St. Clair. Final judgment in Fujifilm 1 was entered in

November 2009. See Fujifilm I D.1. 1078.

       In Fujifilm 1, Defendant Fujifilm has filed an appeal in the Federal Circuit. In its appeal,

Fujifilm challenges (among other things) this Court's construction of the Roberts patents'

"different data format" terms. (D.1. 1079 at 1) St. Clair has filed a cross-appeal in Fujifilm 1.

(D.1. 1081) The parties anticipate that briefing on the pending appeal will be completed in May

2010, oral argument will be heard in July 2010, and a decision will likely be issued by the end of

2010. (D.1. 648 at 1; D.1. 752 at 1)


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       Meanwhile, between November 2004 and June 2008, S1. Clair filed the instant

infringement actions in this Court. In these actions, S1. Clair again alleges infringement of the

Roberts patents. On November 13,2009, I provided recommended constructions of disputed

claim terms, including the same "different data format" terms that Judge Farnan had construed in

Fujijilm 1. (D.!. 531) On February 24, 2010, Judge Farnan adopted the recommended

constructions. (D.!. 719)

       This Court's construction of the "different data format" terms in the instant actions is the

same as the construction that this Court adopted in Fujijilm 1. This Court's construction,

however, differs from the construction endorsed by the U.S. Patent and Trademark Office

("PTO") during reexamination of the Roberts patents, proceedings that occurred between this

Court's 2004 and 2010 claim construction rulings. (D.1. 531 at 13-17; D.1. 648 at 2 (excerpting

Judge Farnan transcript statement); D.L 648 at 7 (quoting PTO Examiner stating that Examiner

agreed "that in light of the disclosure a very different interpretation than that adopted by the court

[in Fujijilm 1] must be made"))



                               THE PARTIES' CONTENTIONS

       In support of their Motion to Stay, Defendants contend that the continued litigation of

these actions will disserve the interests of judicial economy and efficiency as well as unfairly

prejudice them with regards to any invalidity issues they may raise. According to Defendants,

efficiency would be best served by staying the instant case pending conclusion of the Fujijilm 1

appeal because the Federal Circuit's decision there on claim construction will control the

dispositive issue of claim construction here. Defendants submit that this will not only simplifY


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the issues for trial in the instant cases, it will also prevent the waste of resources - those of both

the parties and the Court     if the Federal Circuit adopts a construction that differs from the one

adopted by this Court. Defendants also contend they will be prejudiced if they are required to

overcome the presumption of patent validity by clear and convincing evidence in a case in which

the Court's claim construction differs markedly from the construction the PTO endorsed in

permitting the patents to emerge from reexamination without amendment. Defendants further

contend that St. Clair will suffer no prejudice if a stay is granted because fact discovery is

completed, any delay would be brief, and St. Clair neither competes directly with any Defendant

nor is it entitled to injunctive relief.

        Defendants make essentially the same arguments in support of their Motion to Certify.

Defendants insist that these actions clearly satisfy the requirements of28 U.S.C. § 1292(b)

("Section 1292(b)") for certification of an interlocutory appeal. Defendants contend that the

disagreement between the PTO and the Court regarding proper construction of the claims in the

Roberts patents demonstrates there is reasonable ground for difference of opinion as to the proper

construction of these claims and that an immediate appeal of this Court's claim construction

order would materially advance these cases because the claim construction issues are controlling.

Specifically, Defendants assert that they would not infringe under the claim construction

endorsed by the PTO.

        In opposing both motions, St. Clair contends that the balance of the equities weighs

against a stay of these actions, primarily because it is likely the Federal Circuit will affirm this

Court's claim construction, which has remained consistent across all St. Clair's actions alleging

infringement of the Roberts patents. St. Clair emphasizes that, as a matter of settled law, this


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Court's claim construction controls over a conflicting PTO construction. St. Clair also contends

that even if the Federal Circuit in the Fujifilm I appeal construes the claim terms differently than

this Court has, that ruling will not be dispositive in the instant actions, since St. Clair may still be

able to prove infringement under a different construction. St. Clair submits that it will suffer

undue prejudice and injury if this action is stayed because it will delay trial    currently scheduled

for September 2010 - until sometime after the Roberts patents expire in November 2010. St.

Clair also points out that a stay will frustrate the Court's Scheduling Order and be wasteful of the

significant time and resources that have been already devoted to preparing these cases for trial.

Thus, St. Clair contends that denying the stay will promote judicial economy and efficiency in

these actions.

        With respect to the Motion to Certify, St. Clair adds that certification of this Court's

claim construction order would be inappropriate because the requirements of Section 1292(b) are

not satisfied. St. Clair contends that certification by this Court of an interlocutory appeal will not

materially advance this litigation because the Federal Circuit will not grant interlocutory review

of a claim construction ruling absent exceptional circumstances not present here. St. Clair

further asserts that there is no controlling issue of law for which there is a substantial ground for

a difference of opinion because it is well-settled that this Court's claim construction controls over

the contrary PTO construction.



                                           DISCUSSION

       The court's power to stay proceedings is incidental to its inherent power to control the

disposition of the cases on its docket. See Landis v. North American Co., 299 U.S. 248,254


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(1936). Deciding whether to stay a case is purely a matter of discretion. See Cost Bros., Inc. v.

Travelers Indem. Co., 760 F.2d 58, 60 (3d Cir. 1985). In determining how to exercise its

discretion with respect to a motion to stay, a court considers such factors as: (1) the length of the

stay requested, (2) the "hardship or inequity" that the movant would face in going forward with

the litigation, (3) the injury that a stay would inflict upon the non-movant, and (4) whether a stay

will simplify issues and promote judicial economy. See Landis, 299 U.S. at 254-55. Generally,

ifthere is a chance that a stay would damage the non-moving party, the party requesting a stay

must make out a clear case of hardship or inequity in being required to go forward with the

litigation. See id. at 255.

        Weighing the circumstances of the instant actions in light of the competing interests of

the parties, I conclude that a stay is not warranted at this time. Defendants assert that further

proceedings in these actions should be stayed until after the Federal Circuit resolves the Futifilm

I appeal because the Federal Circuit's ruling there may otherwise necessitate relitigation of the

instant actions. However, both the timing and outcome of the Fujifilm I appeal are speculative.

Notwithstanding Defendants' (and the PTO's) disagreement with this Court's claim construction,

it remains possible that the Federal Circuit will affirm this Court's construction of the "different

data format" terms. If it does so, a stay will have accomplished nothing but delay - delay of at

least six months, and perhaps significantly longer. Moreover, even if the Federal Circuit

construes the claims differently than this Court has done, it is not clear that such a ruling would

be case-dispositive; whether some or all of Defendants' accused devices infringe under




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alternative constructions appears to be a disputed issue. 2 After the parties and the Court have

invested such substantial resources in litigating these actions, and in keeping them on track for a

September 2010 trial, I am not persuaded that a stay would promote judicial economy.

       Defendants insist they face great potential prejudice and hardship in going forward with

this litigation on the current claim construction because they may be required to overcome the

presumption of patent validity by clear and convincing evidence despite the fact that, they assert,

the PTO found the Roberts patents to be valid only based on a narrower construction than this

Court has adopted. However, this Court has made no ruling on this issue yet, nor has it been

requested to do SO.3 I am not persuaded that this unresolved question - which mayor may not

even be addressed in the course of the Fujifilm I appeal - presents a reason to stay these actions.

       Although the Court declines to stay the instant actions pending the outcome of the

Fujifilm I appeal, I do recommend that this Court certify its claim construction order in the

instant cases for interlocutory appea1. 4 Certification of a district court order for an interlocutory

appeal is appropriate "[w]hen a district judge ... [is] of the opinion that such order involves a

controlling question of law as to which there is a substantial ground for difference of opinion and



        2Although Defendants argue at length that St. Clair has conceded that it cannot prove

infringement under the PTO's construction, see, e.g., D.l. 648 at 5; D.l. 646 at 9, S1. Clair
vehemently denies it has done so, see, e.g., D.l. 742 at 9; D.l. 744 at 10-11 & n.13.

        3In my claim construction recommendation, I noted that the issue had been raised and
indicated that it might need to be addressed in connection with jury instructions. See D.1. 531 at
17 n.9.

        4"A magistrate judge, acting pursuant to a reference under § 636(b)[], has no authority to
issue a dispositive ruling on a motion to certity a district court order for interlocutory appeal
under § 1292(b)." Vitals v. Citizens Banking Company, 984 F.2d 168, 169-170 (6th Cir. 1993).
In such circumstances, a magistrate judge is limited to issuing a report and recommendation. See
id. at 169.

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that an immediate appeal from the order may materially advance the ultimate termination of the

litigation." 28 U.S.C. § 1292(b). 'The decision to certifY an order for appeal under Section

1292(b) lies within the sound discretion of the district court." In re .41ontgomery Ward & Co.,

Inc., 2006 WL 2989270 (D. Del. Oct. 18,2006). Once certified, "[a]cceptance of such an appeal

is also subject to the absolute discretion" of the Federal Circuit. Nystrom v. Trex Co. Inc.) 339

F.3d 1347, 1351 (Fed. Cir. 2003).

       The proper construction of the disputed claim terms in the Roberts patents is a controlling

question of law as to which there is substantial ground for difference of opinion. This is

particularly true of the question of the appropriate construction of the "different data format"

terms. The construction of these terms may not be fully dispositive     that is, as already noted, St.

Clair may be able to prove infringement even under a construction that differs from the

construction adopted by this Court - but a definitive, appellate ruling on the meaning of these

terms will certainly have, at minimum, a substantial impact on the remaining proceedings in the

instant cases. That there is substantial ground for difference of opinion on the proper

construction of these terms is evident from the competing views of this Court and the PTO.

Finally, immediate appellate review of claim construction in the unique circumstances of the

instant cases may materially advance the ultimate termination of the litigation.

       St. Clair contends an interlocutory appeal will not advance the litigation because the

Federal Circuit will not grant the appeal. As other district courts have recognized, "the Federal

Circuit rarely grants interlocutory review of claim construction orders." Thomas & Betts Power

Solutions, L.L.C v. Power Distrib.) Inc., 2008 WL 779518, at *2 (E.D. Va. Mar. 21, 2008); see

also Canon, Inc. v. GCC Int 'I Ltd., 263 Fed. Appx. 57,61 (Fed. Cir. 2006) ("This court does not


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 encourage interlocutory appeal from claim construction decisions."); Nystrom, 339 F.3d at 1351

 (stating that interlocutory appeals are "rarely granted"). In the unusual circumstances presented

 here, this is not an argument against certifying an interlocutory appeal; rather, it is an argument

 against staying these cases, unless and until an interlocutory appeal is accepted by the Federal

 Circuit.

            While there are certainly characteristics of the claim construction order in the instant

 cases that distinguish it from the typical claim construction order, there remains a substantial

 possibility that the Federal Circuit will adhere to its standard practice and refuse to accept an

 interlocutory appeal. Given this, I do not find a basis to stay these cases at this point. The

 interests of judicial economy and efficiency will be best served by certification of the claim

 construction order for an immediate interlocutory appeal and, in thc meantime, continued

 litigation of these actions.

         Thus, I recommend certification of an interlocutory appeal from this Court's claim

construction order in the instant cases. I further recommend that if Judge Farnan adopts my

 recommendation to certify and if the Federal Circuit accepts this appeal, then these actions

 should be stayed. Unless and until that time, however, the balance of equities favors proceeding

with this litigation on the current schedule, for all the reasons already discussed.




                          ORDER AND RECOMMENDED DISPOSITION

        For the reasons discussed above:

            1.     IT IS HEREBY ORDERED THAT Defendants' Motion to Stay (C.A. 04-1436-

JJF-LPS D.L 647; C.A. 06-403-JJF-LPS DJ. 333; c.A. 06-404-JJF-LPS OJ. 415; C.A. 08-371-

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 JJF-LPS D.1. 271; C.A. 08-373-JJF-LPS D.1. 189) is DENIED.

        2.       IT IS FURTHER RECOMMENDED that Defendants' Motion to CertifY (C.A.

 04-1436-JJF-LPS D.1. 645; C.A. 06-403-JJF-LPS D.1. 331; C.A. 06-404-JJF-LPS D.l. 413; C.A.

 08-371-JJF-LPS D.L 269; c.A. 08-373-JJF-LPS D.L 187) be GRANTED.

        This Report and Recommendation is filed pursuant to 28 U.S.C. § 636(b)(l)(B), Fed. R.

 Civ. P. 72(b)(l), and D. Del. LR 72.1. The parties may serve and file specific written objections

 of no longer than ten (10) pages within ten (10) days after being served with a copy of this

 Report and Recommendation. Fed. R. Civ. P. 72(b). The failure of a party to object to legal

 conclusions may result in the loss of the right to de novo review in the district court. See

 Henderson v. Carlson, 812 F.2d 874, 878-79 (3d Cir. 1987); Sincavage v. Barnhart, 171 Fed.

 Appx. 924, 925 n.l (3d CiT. 2006). A party responding to objections may do so within ten

 (10) days after being served with a copy of objections; such response shall not exceed ten

 (10) pages. No further briefing shall be permitted with respect to objections without leave

 of the Court.

        The parties are directed to the Court's Standing Order In Non-Pro Se Matters For

 Objections Filed Under Fed. R. Civ. P. 72, dated November 16,2009, a copy of which is

 available on the Court's website, www.ded.uscourts.gov/StandingOrdersMain.htm.




 Dated: March 28, 2010                                 Han. Leonard P. Stark
 Wilmington, Delaware                                  UNITED STATES MAGISTRATE JUDGE




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